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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

 UNITED STATES OF AMERICA,                      : Case No. 1:18-cr-00043
                                                :
                        Plaintiff,              : Judge Timothy S. Black
                                                :
 vs.                                            :
                                                : NOTICE OF WITHDRAWAL OF
 YANJUN XU,                                     : COUNSEL
     a/k/a Xu Yanjun,                           :
     a/k/a Qu Hui,                              :
     a/k/a Zhang Hui,                           :
                                                :
                        Defendant.              :
                                                :
        Notice is hereby given that Ralph W. Kohnen is withdrawing his appearance as counsel

for Defendant Yanjun Xu, pursuant to S.D. Ohio Crim. R. 83.4(a). Mr. Xu continues to be

represented by the below-listed counsel from Taft Stettinius & Hollister LLP, and by pro hac

vice counsel, Florian Miedel. Mr. Xu is aware of and consents to the withdrawal.

                                                  Respectfully submitted,

                                                  /s/ Ralph W. Kohnen
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  Case: 1:18-cr-00043-TSB Doc #: 201 Filed: 07/12/22 Page: 2 of 2 PAGEID #: 4954




                               CERTIFICATE OF SERVICE

       I hereby certify that on July 12, 2022 a copy of the foregoing was filed electronically.
Notice of this filing will be sent to all parties in this case by operation of the Court’s CM/ECF
system. Parties may access this filing through the Court’s system.


                                                    /s/ Ralph W. Kohnen




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